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                        ATTACHMENT 11

            FTI DTDF March 2007 Monthly Statement
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April 24, 2007



USA Commercial Mortgage Company
4484 South Pecos Road
Las Vegas, NV 89121

Attention:        LeAnn Weese, Controller

RE:      FTI Consulting, Inc. (“FTI”), March 2007 Monthly Statement
         USA Commercial Mortgage Company, et al; Jointly Administered under Case No. BK-S-06-10725 LBR

Enclosed please find FTI Consulting, Inc.’s monthly statement for professionals fees for services rendered and
reimbursement of expenses incurred as Financial Advisors for the Official Committee of Equity Security Holders of
USA Capital Diversified Trust Deed Fund, LLC for the period March 1, 2007 through March 12, 2007.

Copies of this monthly statement have been mailed to all parties listed on the attached distribution list.

If you should have any questions regarding our monthly statement, please do not hesitate to call Chas Harvick at
602.744.7186 or me at 602.744.7144.

Sincerely,




Michael A. Tucker
Senior Managing Director

Enclosures
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DISTRIBUTION:

Debtor
         LeAnn Weese, USA Commercial Mortgage Company
         Susan M. Smith, Mesirow Financial, Inc.

Debtor’s Counsel
        Annette W. Jarvis, Esq., Ray Quinney & Nebeker P.C.
        Lenard E. Schwartzer, Esq., Schwartzer & McPherson Law Firm

Counsel for Official Committee of Unsecured Creditors of USA Commercial Mortgage Company
        Susan M. Freeman, Esq., Lewis and Roca, LLP
        Rob Charles, Esq., Lewis and Roca, LLP

Counsel for Official Committee of Holders of Executory Contract Rights of USA Commercial Mortgage Company
        Gerald M. Gordon, Esq., Gordon & Silver, LTD.
        Gregory E. Garman, Esq., Gordon & Silver, LTD.

Counsel for Official Committee of Equity Security Holders of USA Capital Diversified Trust Deed Fund, LLC
        Marc A. Levinson, Esq., Orrick, Herrington & Sutcliffe LLP
        Anne M. Loraditch, Esq., Beckley Singleton CHTD.

Counsel for Official Committee of Equity Security Holders of USA Capital First Trust Deed Fund, LLC
        Frank A. Merola, Esq., Stutman Treister & Glatt, P.C.
        Eve H. Karasik, Esq., Stutman Treister & Glatt, P.C.

Office of the U.S. Trustee – District of Nevada
         August B. Landis, Assistant United States
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                                                                                FTI Consulting, Inc.
                                                                               Two North Central Avenue
                                                                               Suite 1200
                                                                               Phoenix, Arizona 85004

                                                                               602.744.7100 Telephone
                                                                               602.744.7110 Facsimile




RE:     USA Commercial Mortgage Company
        USA Capital Diversified Trust Deed Fund, LLC
        USA Capital First Trust Deed Fund, LLC
        USA Capital Realty Advisors, LLC
        USA Securities, LLC

        Jointly Administered under Case No. BK-S-06-10725-LBR

Date:   April 24, 2007


        Debtor Entity – USA Capital Diversified Trust Deed Fund, LLC

For professional services rendered from March 1, 2007 through March 12, 2007.

Total Current Fees                                                                      $   88,169.00
Total Current Expenses                                                                         974.13

Total Current Fees and Expenses                                                         $   89,143.13

Eighty Percent of Total Current Fees                                                     $ 70,535.20
One Hundred Percent of Total Current Expenses                                                 974.13

Total Amount Due this Statement                                                         $   71,509.33


SEE DETAIL ATTACHED.



                   PLEASE REMIT PAYMENT TO:
                     Bank of America                      FTI Consulting, Inc.
                     ABA #026009593                       P.O. Box 631916
                     In favour of:                        Baltimore, MD 21263-1916
                     FTI Consulting, Inc.                 FED ID#XX-XXXXXXX
                     Account #003939577164


NOTE: There may be expenses that were incurred during this billing cycle that are not reflected in this
monthly statement but will appear in subsequent monthly statements because of the unavoidable delay in
posting some disbursements.
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                             USA Capital Diversified Trust Deed Fund
                                        Summary Exhibit A
                                  Total Hours, Fees and Expenses
                            For the Period of 3/1/2007 through 3/12/2007
Consultant       Level                     Hours           Rate         Fees   Expenses        Total

Tucker, M.       Sr. Managing Dir.           62.7    $525          32,917.50    499.21     33,416.71

Belt, D.         Managing Director           48.1    $475          22,847.50    288.66     23,136.16

Harvick, C.      Director                    73.2    $425          31,110.00      0.00     31,110.00

Schwartz, J.     Senior Consultant            1.5    $325             487.50      0.00        487.50

Peterson, L.     Senior Consultant            0.5    $325             162.50      0.00        162.50

Smith, S.        Paraprofessional             5.2     $95             494.00      0.00        494.00

Evans, J.        Assistant                    3.0     $50             150.00      0.00        150.00

Administration   Admininstrative              0.0          $0           0.00    186.26        186.26

Grand Total                                 194.2                 $88,169.00   $974.13    $89,143.13




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                            USA Capital Diversified Trust Deed Fund
                                      Summary Exhibit B
                      Time Charges Incurred by Professional by Activity Code
                          For the Period of 3/1/2007 through 3/12/2007
Consultant                                                              Hours                Fees
Asset Analysis and Recovery
     Belt, D.                                                              4.5            2,137.50
     Evans, J.                                                             3.0             150.00
     Harvick, C.                                                          35.5           15,087.50
     Peterson, L.                                                          0.5              162.50
     Schwartz, J.                                                          1.2             390.00
     Smith, S.                                                             2.5              237.50
     Tucker, M.                                                           22.9           12,022.50

     Total for Asset Analysis and Recovery:                               70.1           30,187.50


Collection Account Distributions and Related Disputes
     Harvick, C.                                                           0.2              85.00

     Total for Collection Account Distributions and Related Disputes:      0.2              85.00


Court Hearings
     Harvick, C.                                                           2.3             977.50
     Tucker, M.                                                           10.0            5,250.00

     Total for Court Hearings:                                            12.3            6,227.50


Employment/Fee Applications
     Smith, S.                                                             1.5             142.50

     Total for Employment/Fee Applications:                                1.5             142.50


Financing
     Harvick, C.                                                           3.9            1,657.50

     Total for Financing:                                                  3.9            1,657.50


IP/10-90/Ashby Recovery
     Belt, D.                                                             36.4           17,290.00
     Harvick, C.                                                          23.5            9,987.50
     Schwartz, J.                                                          0.3              97.50
     Smith, S.                                                             1.2             114.00
     Tucker, M.                                                           21.1           11,077.50

     Total for IP/10-90/Ashby Recovery:                                   82.5           38,566.50


Meetings & Communications with Diversified Committee
     Harvick, C.                                                           0.2              85.00

     Total for Meetings & Communications with Diversified Committee:       0.2              85.00



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Consultant                                                             Hours                Fees
Plan and Other Restructure Related Work
     Belt, D.                                                             7.2            3,420.00
     Harvick, C.                                                          7.6            3,230.00
     Tucker, M.                                                           8.7            4,567.50

     Total for Plan and Other Restructure Related Work:                  23.5           11,217.50


Grand Total                                                             194.2         $88,169.00




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                              USA Capital Diversified Trust Deed Fund
                                        Summary Exhibit C
                          Detailed Time Charges Incurred by Activity Code
                         For the Period of 3/1/2007 through 3/12/2007
Date       Consultant        Description                                             Hours       Fees

Asset Analysis and Recovery
3/1/2007   Harvick, C.       Coordinate with Debtor and vendor for imaging of          0.3      127.50
                             Beadle documents.

3/1/2007   Harvick, C.       Review Diamond McCarthy search tool and e-mail            0.8      340.00
                             questions regarding errors. Compile list of users and
                             send to team for verification.

3/1/2007   Harvick, C.       Review BySynergy loan file and update BySynergy           1.8      765.00
                             memo.

3/1/2007   Harvick, C.       Review Deloite subpoena.                                  0.2       85.00

3/1/2007   Harvick, C.       Review of Hotel Zoso and Marquis Villas Hilco             1.8      765.00
                             appraisals and prepare and send summary to M.
                             Tucker.

3/1/2007   Tucker, M.        Review e-mails to J. Lisowski regarding Tree Moss         0.1       52.50
                             schedules.

3/1/2007   Tucker, M.        Conference with Colt counsel, D. Hayes and M.             0.3      157.50
                             Levinson prior to hearing.

3/1/2007   Tucker, M.        Review 2004 motions for Deloite and Piercy Bowles.        0.2      105.00

3/2/2007   Harvick, C.       Call C. Kadwell and A. Stevens regarding request for      0.3      127.50
                             updated index of documents and money held at PDG.

3/2/2007   Harvick, C.       Review Marquis Villa document provided by USA             0.5      212.50
                             Commercial Mortgage, follow-up with J. Hermann
                             regarding same.

3/2/2007   Harvick, C.       Review Reale Proof of Claim in Investors VI, send         0.5      212.50
                             comments and review related e-mails.

3/2/2007   Harvick, C.       Continue review of Diamond McCarthy search tool           0.5      212.50
                             and e-mail list of users and questions to Diamond.

3/2/2007   Harvick, C.       Review past communication to BySynergy, leave             0.5      212.50
                             message and send e-mail to M. Zito and update
                             BySynergy Memo.

3/2/2007   Tucker, M.        Discussion with T. Zmalia regarding Wolfe Capital         0.3      157.50
                             status as Tree Moss buyer and Investors VI issues.

3/2/2007   Tucker, M.        Call Phil Dickerson regarding collection assistance       0.2      105.00
                             and background from his sales position.

3/2/2007   Tucker, M.        Call James Wolfe at Wolfe Capital regarding Tree          0.1       52.50
                             Moss sale.

3/2/2007   Tucker, M.        Send e-mail to Diversified Trust Deed Fund team on        0.1       52.50
                             Tree Moss and Investors VI updates.




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Date       Consultant     Description                                                Hours        Fees

Asset Analysis and Recovery
3/2/2007   Tucker, M.     Prepare for hearing and other Investors VI and Tree          1.5      787.50
                          Moss follow up including meeting with T. Zmalia and
                          J. Hermann.

3/5/2007   Belt, D.       Review Colt Gateway loan settlement correspondence           1.1      522.50
                          and term sheet.

3/5/2007   Harvick, C.    Review index of Tree Moss and Investors VI                   0.4      170.00
                          documents and send draft e-mail to M. Tucker to
                          review and send to J. Lisowski.

3/5/2007   Harvick, C.    Continue review of S. Reale Proof of Claim in                0.5      212.50
                          Investors VI, send comments and review related e-
                          mails.

3/5/2007   Harvick, C.    Review of Colt related e-mails and attachments from          2.1      892.50
                          2003 - 2006 provided by Colt. Discuss same with M.
                          Tucker.

3/5/2007   Harvick, C.    Review Colt documents (loan agreements, audit                2.1      892.50
                          financial, funding summaries, project summaries,
                          bank statements, etc). Discuss same with M. Tucker.

3/5/2007   Harvick, C.    Review of T. Allison Declaration filed in Investors VI       0.6      255.00
                          case and other support documentation.

3/5/2007   Harvick, C.    Prepare for and participate in call with M. Levinson, M.     1.7      722.50
                          Tucker and J. Hermann to discuss Investors VI
                          Answer, M. Tucker Declaration, timing and strategy.

3/5/2007   Harvick, C.    Call with M. Levinson, M. Tucker and J. Hermann to           1.7      722.50
                          discuss documents produced by Colt, servicing and
                          settlement status, issues and strategy.

3/5/2007   Harvick, C.    Continue review of documents produced by Colt                0.8      340.00
                          (financials, GL detail, project overviews and Enclave
                          Inc web page) and draft terms. Discuss same with M.
                          Tucker.

3/5/2007   Harvick, C.    Conference with J. Hermann, M. Levinson and M.               0.2       85.00
                          Tucker regarding Huntsville collection.

3/5/2007   Tucker, M.     Discussion with C. Harvick regarding Colt documents          0.6      315.00
                          (loan agreements, audit financial, funding summaries,
                          project summaries, bank statements, etc).

3/5/2007   Tucker, M.     Conference with J. Hermann, M. Levinson and C.               0.2      105.00
                          Harvick regarding Huntsville collection.

3/5/2007   Tucker, M.     Call with M. Levinson, C. Harvick and J. Hermann to          1.7      892.50
                          discuss documents produced by Colt, servicing and
                          settlement status, issues and strategy.

3/5/2007   Tucker, M.     Review and analyze Colt documents received from              3.3     1,732.50
                          Colt; draft e-mails to Diversified Trust Deed Fund
                          team on same.

3/5/2007   Tucker, M.     Draft e-mail to J. Lisowski regarding Tree Moss and          0.7      367.50
                          Investors VI issues and lack of follow up.

3/5/2007   Tucker, M.     Analyze potential sale of Placer Vineyards default           0.3      157.50
                          interest and e-mails to G. Berman.



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Date       Consultant     Description                                              Hours       Fees

Asset Analysis and Recovery
3/5/2007   Tucker, M.     Conference with J. Hermann, M. Levinson and C.             1.6      840.00
                          Harvick regarding Investors VI answer and strategy;
                          review analysis.

3/5/2007   Tucker, M.     Analyze alternative Colt offers.                           0.5      262.50

3/5/2007   Tucker, M.     Conference with G. Berman regarding meeting with K.        0.5      262.50
                          Rowe on Tanamera Properties and Colt collection
                          issues; send e-mail to Diversified Trust Deed Fund
                          team on same.

3/5/2007   Tucker, M.     Discuss Colt related e-mails and attachments from          0.5      262.50
                          2003-2006 with C. Harvick.

3/6/2007   Belt, D.       Research and respond to Y. Boyarin inquiries               2.1      997.50
                          regarding Colt loan and modifications to original note
                          agreement.

3/6/2007   Harvick, C.    Review and edit index of Colt documents and send to        0.6      255.00
                          Diversified Trust Deed Fund team.

3/6/2007   Harvick, C.    Call with J. Hermann and E. Monson to discuss              0.4      170.00
                          available Investors VI documents.

3/6/2007   Harvick, C.    Review various e-mails regarding status of ICC loan,       0.5      212.50
                          Placer Vineyards sale of servicing to Compass and
                          Colt negotiations and dealing with Trustee for
                          Investors VI.

3/6/2007   Harvick, C.    Call with J. Reed to request Marque Hotel documents.       0.2       85.00

3/6/2007   Harvick, C.    Discuss Investors VI with M. Tucker, M. Levinson and       1.2      510.00
                          J. Hermann and call for part with T. Zmaila to discuss
                          same.

3/6/2007   Harvick, C.    Discuss Investors VI with M. Tucker and call J.            0.4      170.00
                          Lisowski to discuss the operations of Investors VI.

3/6/2007   Harvick, C.    Review Demand Letters and Preservation Letters sent        0.6      255.00
                          by Diamond McCarthy to USA Commercial Mortgage
                          outsourced professional firms.

3/6/2007   Harvick, C.    Call with J. Roussel at Hospitality 1st to discuss         0.3      127.50
                          Investors VI operations and Vendor Report provided
                          to R. Walker.

3/6/2007   Harvick, C.    Review notes of documents related to Investors VI          0.4      170.00
                          and left message with J. Lisowski to call me regarding
                          same.

3/6/2007   Harvick, C.    Call with J. Hermann and M. Levinson to discuss my         0.4      170.00
                          call with J. Roussel and determine what the
                          appropriate next step should be.

3/6/2007   Tucker, M.     Conference with T. Zmaila, J. Hermann, C. Harvick          1.2      630.00
                          and M. Levinson regarding Investors VI issues; follow
                          up discussion without T. Zmaila.

3/6/2007   Tucker, M.     Conference with J. Hermann, M. Levinson and B.             0.6      315.00
                          Edmondson regarding Colt litigation issues and
                          strategy.

3/6/2007   Tucker, M.     Respond to T. Hansen inquiry on loan status.               0.1       52.50


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Date       Consultant     Description                                               Hours       Fees

Asset Analysis and Recovery
3/6/2007   Tucker, M.     Discuss Investors VI with C. Harvick.                       0.2      105.00

3/6/2007   Tucker, M.     Determine status of collection and payoff of Interstate     0.2      105.00
                          Commerce loan.

3/6/2007   Tucker, M.     Review motion for relief from stay on Tree Moss for         0.2      105.00
                          insurance financing.

3/6/2007   Tucker, M.     Review revised Colt letter from HFA and related e-          0.6      315.00
                          mails and responses; conference with M. Levinson
                          and J. Hermann regarding same.

3/7/2007   Harvick, C.    Review Amended Answer and Exhibits filed by R.              0.8      340.00
                          Walker for Investors VI and send e-mail regarding
                          same.

3/7/2007   Harvick, C.    Review T. Allison Investors VI Declaration and              0.9      382.50
                          previous M. Tucker Declarations to leverage off of
                          prior work.

3/7/2007   Harvick, C.    Participate in call with J. Hermann, M. Tucker and T.       0.6      255.00
                          Zmaila to get a download on what T. Zmaila has
                          discovered and prepare for the Investors VI status
                          conference.

3/7/2007   Harvick, C.    Review Colt Agreement Letter and related e-mails.           0.4      170.00

3/7/2007   Tucker, M.     Review S. Reale Proof of Claim on Investors VI.             0.1       52.50

3/7/2007   Tucker, M.     Participate in Investors VI status conference call and      1.2      630.00
                          follow up discussion with J. Hermann and M. Levinson.

3/7/2007   Tucker, M.     Review letter from Sunterra to T. Zmalia regarding          0.1       52.50
                          intent in being a seller.

3/7/2007   Tucker, M.     Participate in call with J. Hermann, C. Harvick and T.      0.4      210.00
                          Zmaila to see what he discovered regarding Investors
                          VI.

3/7/2007   Tucker, M.     Conference with T. Zmaila regarding Investors VI            0.3      157.50
                          issues.

3/7/2007   Tucker, M.     Review letter from Colt and related e-mails on Colt         1.2      630.00
                          settlement and refinancing; discuss with M. Levinson
                          and J. Hermann.

3/8/2007   Harvick, C.    Call M. Zito at BySynergy regarding the production of       0.1       42.50
                          documents.

3/8/2007   Harvick, C.    Research guarantors for Colt loan and send findings         0.6      255.00
                          to J. Hermann.

3/8/2007   Harvick, C.    Review multiple e-mails related to Diamond McCarthy         0.3      127.50
                          filings and actions and respond to same.

3/8/2007   Harvick, C.    Review Investors VI documents provided by E.                1.6      680.00
                          Monson (GL, financial, loan documents etc.) and send
                          comment to Diversified Trust Deed Fund team
                          regarding same.

3/8/2007   Schwartz, J.   Prepare comparison schedule of Colt Loan schedules          0.4      130.00
                          for Div #1, #2 and CREC.



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Date        Consultant    Description                                               Hours       Fees

Asset Analysis and Recovery
3/9/2007    Belt, D.      Conference call with Diamond McCarthy regarding             1.3      617.50
                          status of litigation.

3/9/2007    Evans, J.     Scan Colt documents produced by Katten Muchin.              3.0      150.00

3/9/2007    Harvick, C.   Review Colt interest calculations by HFA and                1.1      467.50
                          compare to FTI calculations. Send comment to M.
                          Tucker regarding same.

3/9/2007    Harvick, C.   Prepare for and participate in status call with Diamond     1.5      637.50
                          McCarthy USA Commercial Mortgage First Deed
                          Trust and Diversified Trust Deed Fund.

3/9/2007    Harvick, C.   Participate in conference call with G. Berman, his          1.4      595.00
                          counsel, M. Levinson, J. Hermann and M. Tucker
                          regarding USA Commercial Trust investigation to date
                          and interviews, and other asset recoveries.

3/9/2007    Smith, S.     Print out e-mails of documents, organize and create         2.5      237.50
                          binder for information provided by E. Monson on
                          Investors VI.

3/9/2007    Tucker, M.    Participate in conference call with G. Berman, his          1.4      735.00
                          counsel, M. Levinson, J. Hermann and C. Harvick
                          regarding USA Commercial Trust investigation to date
                          and interviews, and other asset recoveries.

3/10/2007   Harvick, C.   Participate in call with M. Levinson, J. Hermann, C.        1.0      425.00
                          Larsen and M. Tucker to discuss transition issues,
                          HMA Sales litigation issues.

3/10/2007   Tucker, M.    Participate in conference call with M. Levinson, J.         1.0      525.00
                          Hermann, C. Larsen, and C. Harvick regarding HMA
                          Sales litigation issues.

3/11/2007   Tucker, M.    Review Investors VI management agreement.                   0.4      210.00

3/11/2007   Tucker, M.    Review several letters and orders by USA                    0.4      210.00
                          Commercial Mortgage for 2004 examinations and
                          document retention and production.

3/12/2007   Harvick, C.   Call M. Zito at BySynergy.                                  0.1       42.50

3/12/2007   Harvick, C.   Review USA Commercial Mortgage January Loan                 0.4      170.00
                          Summary and request report from Debtor.

3/12/2007   Harvick, C.   Review USA Commercial Mortgage Amended                      0.5      212.50
                          Schedules for Diversified Trust Deed Fund unremitted
                          principal of $18.9 million and send comments to S.
                          Smith regarding same.

3/12/2007   Harvick, C.   Review of Colt Loan History Reports for CREC and            0.7      297.50
                          DIV 1 & 2; e-mail feedback to J. Schultz.

3/12/2007   Harvick, C.   Review Huntsville bankruptcy filings and Deeds of           0.6      255.00
                          Trust.

3/12/2007   Harvick, C.   Review and send Colt Documents provided by Katten           0.3      127.50
                          Muchin to Diversified Trust Deed Fund team.

3/12/2007   Harvick, C.   Call with M. Tucker to discuss Tree Moss sale               0.3      127.50
                          process, Board meeting agenda and K. Rowe meeting.



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Date        Consultant         Description                                              Hours       Fees

Asset Analysis and Recovery
3/12/2007   Peterson, L.       Update Diversified Trust Deed Fund cash collections        0.5      162.50
                               schedule thru March 2, 2007.

3/12/2007   Schwartz, J.       Continue to make revisions to the Colt Div #1, Colt        0.8      260.00
                               Div #2 and Colt CREC analysis based on feedback
                               from C. Harvick.

3/12/2007   Tucker, M.         Call with C. Harvick to discuss Tree Moss sale             0.3      157.50
                               process, Board meeting agenda and K. Rowe meeting.

3/12/2007   Tucker, M.         Review revised USA Commercial Mortgage schedules           0.3      157.50
                               noting $18.9 million unremitted principle missing.

Total for Asset Analysis and Recovery:                                                   70.1   30,187.50

Collection Account Distributions and Related Disputes
3/1/2007    Harvick, C.        Find past e-mail and send reminder e-mail to S. Smith      0.2       85.00
                               requesting detail of prepaid amounts.

Total for Collection Account Distributions and Related Disputes:                          0.2       85.00

Court Hearings
3/1/2007    Harvick, C.        Listen to Colt settlement hearing telephonically.          1.3      552.50

3/1/2007    Harvick, C.        Listen to 1142 Motion hearing telephonically.              1.0      425.00

3/1/2007    Tucker, M.         Participate in Court hearing on 1142 Motion, Colt          3.4    1,785.00
                               settlement, enforcement of Plan, sales proceed
                               allocation, etc.

3/1/2007    Tucker, M.         Travel to Las Vegas to attend Investors VI hearing         2.4    1,260.00
                               and HMA Sales TRO hearing.

3/2/2007    Tucker, M.         Travel from Las Vegas to Phoenix after hearing on          2.2    1,155.00
                               Investors VI and HMA TRO.

3/2/2007    Tucker, M.         Attend court hearing on Investors VI bankruptcy filing     2.0    1,050.00
                               and HMA Sales TRO.

Total for Court Hearings:                                                                12.3    6,227.50

Employment/Fee Applications
3/9/2007    Smith, S.          Begin reconciliation of February time for monthly          1.5      142.50
                               interim invoice.

Total for Employment/Fee Applications:                                                    1.5      142.50

Financing
3/1/2007    Harvick, C.        Review USA Commercial Mortgage Budget to Actuals.          0.4      170.00

3/12/2007   Harvick, C.        Analysis of Diversified Trust Deed Fund monthly            2.3      977.50
                               operating report, Holdback report and schedules to
                               prepare Summary of Diversified Trust Deed Fund
                               Cash.

3/12/2007   Harvick, C.        Prepare summary of Diversified Trust Deed Fund             0.9      382.50
                               assets as of January 31, 2007.



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Date        Consultant    Description                                                 Hours       Fees

Financing
3/12/2007   Harvick, C.   Prepare summary of Diversified Trust Deed Fund                0.3      127.50
                          assets received at Plan Effective Date.

Total for Financing:                                                                    3.9    1,657.50

IP/10-90/Ashby Recovery
3/1/2007    Belt, D.      Review objection to writ of attachment filed by Great         0.9      427.50
                          White counsel.

3/1/2007    Belt, D.      Review writ of attachment motion draft received from          0.7      332.50
                          C. Larsen.

3/1/2007    Belt, D.      Finalize updating of Diversified to HMA Sales cash            2.2    1,045.00
                          tracing for 10-90 Inc and Mountain Vista portion of
                          transfers.

3/1/2007    Tucker, M.    Review and comment on Reply brief to Great White              0.3      157.50
                          and HMA Sales.

3/2/2007    Belt, D.      Review tax return documents and 2005 year end                 2.3    1,092.50
                          financial report produced for HMA Sales and identify
                          date of fixed asset purchases including the building
                          and floor renovations.

3/2/2007    Belt, D.      Conference call with Diversified counsel , C. Harvick         2.0      950.00
                          and M. Tucker to discuss all issues surrounding HMA
                          Sales writ of attachment litigation and strategy for
                          filing necessary declarations to support legal positions.

3/2/2007    Belt, D.      Prepare outline for drafting declaration in support of        0.6      285.00
                          HMA Sales writ of attachment proceeding.

3/2/2007    Belt, D.      Identify dates for land purchases by HMA Sales and            0.3      142.50
                          forward information to Diversified team.

3/2/2007    Harvick, C.   Review D. Fogg file and other 10-90 related                   3.2    1,360.00
                          documents provided to SEC by RQN. Prepare
                          timeline for 10-90 loan and funding.

3/2/2007    Harvick, C.   Prepare for and participate in call with Diversified          2.1      892.50
                          Trust Deed Fund counsel, M. Tucker and D. Belt
                          regarding HMA Sales and next steps.

3/2/2007    Tucker, M.    Meet with E. Khalili regarding HMA Sales buyers and           0.5      262.50
                          history.

3/2/2007    Tucker, M.    Prepare for and meet with J. Hermann, C. Larsen, A.           2.4    1,260.00
                          Loraditch and conference with C. Harvick and D. Belt
                          regarding HMA strategy and next steps including
                          declaration needed by FTI.

3/2/2007    Tucker, M.    Review e-mail on land purchases by HMA Sales and              0.4      210.00
                          whether Diversified Trust Deed Fund funds were used
                          to purchase same; reply to various e-mails on topic.

3/5/2007    Belt, D.      Begin preparing and assembling documents for                  2.3    1,092.50
                          drafting a declaration in support of writ of attachment
                          motion.

3/5/2007    Harvick, C.   Conference with J. Hermann, M. Levinson, and M.               0.4      170.00
                          Tucker regarding Placer Vineyard default interest and
                          sale of servicing.


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Date       Consultant     Description                                                Hours       Fees

IP/10-90/Ashby Recovery
3/5/2007   Harvick, C.    Call with M. Levinson and J. Hermann to discuss my           0.3      127.50
                          conversation with A. Stevens and M. Tucker
                          Declaration for HMA Sales.

3/5/2007   Harvick, C.    Review of USA Realty 2004 General Ledger detail,             1.7      722.50
                          wire amounts from USA Realty to Mountain Vista and
                          Tracing from Diversified Trust Deed Fund to 10-90 Inc.

3/5/2007   Smith, S.      Organize documents and create binder regarding D.            0.4       38.00
                          Fogg.

3/5/2007   Tucker, M.     Conference with J. Hermann, M. Levinson, and C.              0.4      210.00
                          Harvick regarding Placer Vineyard default interest and
                          sale of servicing.

3/6/2007   Belt, D.       Review all correspondence regarding depositions              1.9      902.50
                          related to adversarial proceedings and calendar
                          current schedule. Discuss with C. Larsen required
                          attendance at HMA-related depositions and strategy.

3/6/2007   Belt, D.       Conference call with counsel regarding HMA Sales             2.1      997.50
                          adversarial proceeding.

3/6/2007   Harvick, C.    Review index of documents produced to SEC by RQN             0.2       85.00
                          for Tanamera related documents.

3/6/2007   Harvick, C.    Review of Great White motion to dismiss and                  0.6      255.00
                          supporting exhibits.

3/6/2007   Harvick, C.    Continue to draft M. Tucker Declaration for HMA              1.7      722.50
                          Sales Hearing.

3/6/2007   Harvick, C.    Draft M. Tucker Declaration for HMA Sales Hearing.           0.8      340.00

3/6/2007   Harvick, C.    Participate in call (part) with A. Jarvis, E. Monson, T.     0.7      297.50
                          Allison, M. Levinson, J. Hermann, C. Nelson and M.
                          Tucker to discuss HMA Sales response regarding
                          Great White action, Colt status and call to B. Koe from
                          J. Milanowski.

3/6/2007   Tucker, M.     Follow up with J. McPhearson on S. Reale tax return          0.1       52.50
                          production.

3/6/2007   Tucker, M.     Participate in conference call on HMA Sales trial with       1.9      997.50
                          A. Jarvis, E. Monson, T. Allison, M. Levinson, J.
                          Hermann and C. Nelson and C. Harvick.

3/6/2007   Tucker, M.     Discussion with G. Berman regarding Placer                   0.5      262.50
                          Vineyards sale of servicing rights.

3/7/2007   Belt, D.       Review multiple pleadings, motion to dismiss and             2.2    1,045.00
                          motion for summary judgment filed by Great White
                          defendants in HMA Sales adversary pleading
                          including review of expert financial witness report in
                          support thereof.

3/7/2007   Belt, D.       Discuss Tucker Declaration for HMA Sales Hearing             0.3      142.50
                          with C. Harvick.

3/7/2007   Harvick, C.    Review C. Nelson's draft of M. Tucker Declaration for        0.3      127.50
                          HMA Sales Hearing.




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Date       Consultant     Description                                                Hours       Fees

IP/10-90/Ashby Recovery
3/7/2007   Harvick, C.    Review draft of M. Tucker Declaration for HMA Sales          0.5      212.50
                          Hearing and discuss same with D. Belt.

3/7/2007   Harvick, C.    Discuss filing involuntary petitions on Investment           0.4      170.00
                          Partners with M. Levinson and M. Tucker.

3/7/2007   Harvick, C.    Prepare Fraud section of M. Tucker Declaration for           3.2    1,360.00
                          HMA Sales Writ of Attachment.

3/7/2007   Harvick, C.    Review Diversified Trust Deed Fund Operating                 1.6      680.00
                          Agreement, Prospectus, 10-90 Loan History Report,
                          and other debtor documents to incorporate and
                          support facts contained in M. Tucker's HMA Sales
                          Declaration.

3/7/2007   Harvick, C.    Continue to draft M. Tucker Declaration for HMA              1.7      722.50
                          Sales Hearing.

3/7/2007   Harvick, C.    Prepare exhibit package for M. Tucker Declaration for        0.7      297.50
                          HMA Sales Hearing.

3/7/2007   Schwartz, J.   Research corporation documents for 10-90, Inc.               0.3       97.50

3/7/2007   Smith, S.      Organize e-mailed documents for Tanamera                     0.3       28.50
                          Properties.

3/7/2007   Tucker, M.     Review several versions of Placer Vineyards servicing        1.2      630.00
                          rights stipulation on transfer to USA Commercial
                          Mortgage Trust; discuss same with M. Levinson.

3/7/2007   Tucker, M.     Review Great White's motion to dismiss HMA Sales             0.3      157.50
                          suit by Diversified Trust Deed Fund.

3/7/2007   Tucker, M.     Review various HMA Sales pleadings in preparation            1.9      997.50
                          for trial.

3/7/2007   Tucker, M.     Discuss filing involuntary petitions on Investment           0.4      210.00
                          Partners with M. Levinson and C. Harvick.

3/7/2007   Tucker, M.     Return call to J. Milanowski.                                0.1       52.50

3/8/2007   Belt, D.       Prepare support binder for M. Tucker declaration in          0.9      427.50
                          support of wit of attachment motion.

3/8/2007   Belt, D.       Review draft of M. Tucker declaration for writ of            3.5    1,662.50
                          attachment received from C. Larsen, make revisions,
                          prepare support exhibits and distribute revised draft to
                          counsel.

3/8/2007   Harvick, C.    Review Tanamera documents and e-mails regarding              0.3      127.50
                          same.

3/8/2007   Harvick, C.    Review of documents provided to SEC for Tanamera             0.5      212.50
                          documents to prepare for meeting with K. Rowe.

3/8/2007   Harvick, C.    Revise Sheraton Loan History Report for M. Tucker            0.8      340.00
                          Declaration for HMA Sales Hearing.

3/8/2007   Smith, S.      Scan exhibits; create binder for M. Tucker Declaration       0.5       47.50
                          regarding HMA Sales.

3/8/2007   Tucker, M.     Review various e-mails on HMA Sales pleading and             0.8      420.00
                          deposition schedules.


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Date        Consultant       Description                                                Hours       Fees

IP/10-90/Ashby Recovery
3/9/2007    Belt, D.         Discuss changes to Draft Motion of Plaintiffs                0.2       95.00
                             Opposition to S. Reale with C. Harvick.

3/9/2007    Belt, D.         Review response to dismiss HMA adversarial                   2.0      950.00
                             proceeding filed by Reale received from C. Larsen.
                             Prepare comments and forward back to counsel.

3/9/2007    Harvick, C.      Review Draft Motion of Plaintiffs Opposition to S.           0.9      382.50
                             Reale.

3/9/2007    Harvick, C.      Continue review Draft Motion of Plaintiffs Opposition        0.5      212.50
                             to Reale and discuss changes with D. Belt.

3/9/2007    Tucker, M.       Review draft objection to motion to dismiss from S.          0.7      367.50
                             Reale in HMA Sales and draft related e-mails.

3/10/2007   Harvick, C.      Participate in conference call with M. Levinson, J.          0.2       85.00
                             Hermann, C. Larsen and M. Tucker regarding
                             Investment Partners.

3/10/2007   Tucker, M.       Participate in conference call with M. Levinson, J.          0.2      105.00
                             Hermann, C. Larsen, and C. Harvick regarding
                             Investment Partners.

3/10/2007   Tucker, M.       Review S. Reale motion to dismiss and related                0.5      262.50
                             affidavit and related e-mails.

3/10/2007   Tucker, M.       Research issues on Investment Partners relative to an        0.5      262.50
                             Investment Partners Chapter 11.

3/11/2007   Tucker, M.       Review numerous HMA Sales pleadings and                      1.4      735.00
                             documents for litigation case.

3/12/2007   Belt, D.         Travel from Phoenix to Las Vegas to attend various           2.3    1,092.50
                             depositions for HMA Sales.

3/12/2007   Belt, D.         Attend Tom Allison deposition regarding HMA Sales            7.5    3,562.50
                             adversary proceeding.

3/12/2007   Belt, D.         Attend Great White Investment deposition regarding           2.2    1,045.00
                             HMA Sales adversary proceeding.

3/12/2007   Harvick, C.      Discuss Investment Partners' litigation with M. Tucker.      0.2       85.00

3/12/2007   Tucker, M.       Discuss Investment Partners' litigation with C. Harvick.     0.2      105.00

3/12/2007   Tucker, M.       Analysis of Investment Partners potential insolvency         1.8      945.00
                             filing.

3/12/2007   Tucker, M.       Conference with M. Levinson regarding Investment             0.5      262.50
                             Partners' strategy issues.

3/12/2007   Tucker, M.       Work on HMA Sales declaration and litigation issues.         4.1    2,152.50


Total for IP/10-90/Ashby Recovery:                                                       82.5   38,566.50

Meetings & Communications with Diversified Committee
3/9/2007    Harvick, C.      Call with Diversified Trust Deed Fund investor.              0.2       85.00

Total for Meetings & Communications with Diversified Committee:                           0.2       85.00



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Date       Consultant     Description                                              Hours       Fees

Plan and Other Restructure Related Work
3/1/2007   Tucker, M.     Read final brief in opposition to LPG appeal.              0.5      262.50

3/1/2007   Tucker, M.     Review D. Cangelosi declaration in support of LPG          0.2      105.00
                          Group.

3/2/2007   Tucker, M.     Review draft order and e-mails on Plan                     0.3      157.50
                          implementation.

3/5/2007   Harvick, C.    Call with M. Levinson, M. Tucker and J. Hermann to         0.3      127.50
                          discuss Post Effective Date administration (billing
                          codes, agreements, USA Commercial Mortgage
                          personnel, etc.).

3/5/2007   Harvick, C.    Review Post Effective Task Codes and M. Levinson           0.3      127.50
                          comments.

3/5/2007   Tucker, M.     Call with M. Levinson, C. Harvick and J. Hermann to        0.3      157.50
                          discuss Post Effective Date administration (billing
                          codes, agreements, USA Commercial Mortgage
                          personnel, etc.).

3/5/2007   Tucker, M.     Review Post Effective Date Diversified Trust Deed          0.1       52.50
                          Fund billing codes.

3/5/2007   Tucker, M.     Review LPG letters to investors on appeal issues.          0.3      157.50

3/6/2007   Harvick, C.    Review Updated Master Inventory of Documents at            0.6      255.00
                          USA Commercial Mortgage and notify G. Bermann of
                          documents Diversified Trust Deed Fund intends to
                          take.

3/6/2007   Harvick, C.    Send e-mail to Beckley Singleton requesting a draft        0.2       85.00
                          Independent Contractors Agreement.

3/6/2007   Harvick, C.    Revise future task codes for billing and send to           0.3      127.50
                          Diversified Trust Deed Fund team.

3/6/2007   Harvick, C.    Review LPG letter and website and related e-mails.         0.4      170.00

3/7/2007   Belt, D.       Follow up D&O insurance and administration                 0.5      237.50
                          agreement issues and retention; discuss with M.
                          Tucker and B. Conely regarding agreements needed.

3/7/2007   Belt, D.       Calls with insurance brokers for obtaining D&O quote.      1.0      475.00
                          Complete Chubb Insurance application per
                          instructions from C. Crawford.

3/7/2007   Belt, D.       Calls with insurance brokers for obtaining D&O quote.      2.0      950.00
                          Complete Chubb Insurance application per
                          instructions from C. Crawford; discuss with M. Tucker

3/7/2007   Belt, D.       Conference call with FTI liability personnel regarding     1.2      570.00
                          engagement protocols for Administrator. Obtain
                          revised Diversified articles of incorporation, review
                          and forward to FTI counsel for drafting of contract.

3/7/2007   Tucker, M.     Follow up D&O insurance and administration                 0.5      262.50
                          agreement issues and retention; discuss with D. Belt
                          and B. Conely regarding agreements needed.

3/7/2007   Tucker, M.     Conference with B. Conley and D. Belt regarding            0.4      210.00
                          engagement of FTI and Plan administrator agreement.



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Date        Consultant    Description                                             Hours       Fees

Plan and Other Restructure Related Work
3/8/2007    Belt, D.      Review D&O proposal from XL Insurance.                    0.6      285.00

3/8/2007    Belt, D.      Call with E. Miller regarding Diversified Trust Deed      0.5      237.50
                          Fund Administrator agreement and duties assigned
                          per Plan of Reorganization.

3/8/2007    Belt, D.      Prepare comparative analysis of D&O proposals and         1.0      475.00
                          review policy forms.

3/8/2007    Harvick, C.   Prepare list of priority plan confirmation tasks.         0.3      127.50

3/8/2007    Harvick, C.   Review and edit BMC Services Agreement and send           0.6      255.00
                          comments to R. Ragni.

3/8/2007    Harvick, C.   Call with BMC to discuss future services for              0.4      170.00
                          Diversified Trust Deed Fund.

3/8/2007    Harvick, C.   Review Plan and Effective Date Transfer Schedule          0.6      255.00
                          and send e-mail to Diversified Trust Deed Fund team
                          regarding same.

3/8/2007    Tucker, M.    Review and respond to various e-mails on Effective        0.4      210.00
                          Date issues.

3/8/2007    Tucker, M.    Review plan effective data transition issues.             1.4      735.00

3/9/2007    Belt, D.      Review effective date transfer schedule received from     0.4      190.00
                          S. Smith.

3/9/2007    Harvick, C.   Participate in call with Debtor and Committees to         0.4      170.00
                          discuss the final disbursements and other issues
                          related to effective date of Plan.

3/9/2007    Tucker, M.    Review e-mails on effective date issues.                  0.3      157.50

3/10/2007   Harvick, C.   Participate in call with Debtor and Committees to         0.3      127.50
                          discuss the final disbursements and other issues
                          related to effective date of Plan.

3/10/2007   Harvick, C.   Participate in conference call with M. Levinson, J.       0.2       85.00
                          Hermann, C. Larsen and M. Tucker regarding Borad
                          of Directors meeting with new Board of Directors.

3/10/2007   Tucker, M.    Participate in conference call with M. Levinson, J.       0.2      105.00
                          Hermann, C. Larsen and C. Harvick regarding Board
                          of Directors meeting with new Board of Directors.

3/10/2007   Tucker, M.    Review draft Board of Directors agenda.                   0.2      105.00

3/10/2007   Tucker, M.    Review e-mails and calculations for effective date.       0.2      105.00

3/12/2007   Harvick, C.   Review BMC Fee Summary and send e-mail                    0.3      127.50
                          regarding same.

3/12/2007   Harvick, C.   Review noticing order and master servicing list and       0.3      127.50
                          send e-mail regarding same.

3/12/2007   Harvick, C.   Review and respond to e-mail regarding Independent        0.4      170.00
                          Contractor Agreement.

3/12/2007   Harvick, C.   Review Notice of Effective Date of Confirmed Plan.        0.2       85.00




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Date        Consultant        Description                                            Hours         Fees

Plan and Other Restructure Related Work
3/12/2007   Harvick, C.       Review revised Board Meeting Agenda.                     0.1         42.50

3/12/2007   Harvick, C.       Review e-mails related to Effective Date                 0.3        127.50
                              disbursements, and 2004 Exams filed by USA
                              Commercial Mortgage.

3/12/2007   Harvick, C.       Review Draft Independent Contractor Agreement, find      1.1        467.50
                              separate template on-line and edit template. Send to
                              Beckley for review.

3/12/2007   Tucker, M.        Conference with M. Levinson on Board meeting and         0.8        420.00
                              McGinsey issues as Board member.

3/12/2007   Tucker, M.        Review BMC overview of services and costs for            0.3        157.50
                              Diversified Trust Deed Fund work.

3/12/2007   Tucker, M.        Prepare for Board meeting and transition effective       2.3      1,207.50
                              date issues.

Total for Plan and Other Restructure Related Work:                                    23.5     11,217.50

Grand Total                                                                          194.2   $88,169.00




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                                USA Capital Diversified Trust Deed Fund
                                           Summary Exhibit D
                               Professional Expenses Incurred by Category
                               For the Period of 3/1/2007 through 3/12/2007
Consultant           Date Incurred Description of Expense                                           Amount

Administrative
Administration          3/1/2007     Postage - Federal Express Orrick, Herrington,                     10.40
                                     Sutcliffe - Jeff Hermann

Administration          3/1/2007     Court Call for USA Commercial Mortgage                           116.00

Administration          3/7/2007     Court Call for USA Commercial Mortgage                            25.00

Administration          3/12/2007    Pacer - Quarterly Statement                                       34.86

Total for Administrative:                                                                             186.26

Airfare
Tucker, M.              3/1/2007     Air Fare from Phoenix, AZ to Las Vegas, NV on                    126.40
                                     3/1/07.

Tucker, M.              3/2/2007     Air Fare reteurn from Las Vegas, NV to Phoenix, AZ               125.90
                                     on 3/2/07.

Belt, D.                3/12/2007    Air Fare from Phoenix, AZ to Las Vegas , NV on                   140.65
                                     3/12/07 (stayed till 3/15)

Total for Airfare:                                                                                    392.95

Lodging
Tucker, M.              3/2/2007     Hotel in Las Vegas, NV for 1 Night, Check In                     113.36
                                     3/1/07 - Check Out 3/2/07.

Belt, D.                3/12/2007    Hotel in Las Vegas, NV check in 3/12/07 for 1 night               97.01
                                     of multiple night stay.

Belt, D.                3/12/2007    Bellman to hold luggage for day until able to check                3.00
                                     in.

Total for Lodging:                                                                                    213.37

Meals
Tucker, M.              3/1/2007     Lunch                                                              8.45

Tucker, M.              3/1/2007     Dinner.                                                           24.00

Tucker, M.              3/2/2007     Dinner.                                                           21.00

Tucker, M.              3/2/2007     Breakfast                                                         38.31

Total for Meals:                                                                                       91.76

Transportation


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Consultant       Date Incurred Description of Expense                                     Amount

Tucker, M.            3/1/2007    Taxi - airport to hotel.                                   15.00

Tucker, M.            3/2/2007    14 miles - home to airport and return.                      6.79

Tucker, M.            3/2/2007    Parking PHX airport - 1 day.                               20.00

Belt, D.             3/12/2007    Parking PHX airport - 1 day.                               20.00

Belt, D.             3/12/2007    Taxi - Las Vegas airport to hotel to Beckley               28.00
                                  Singleton law offices for deposition.

Total for Transportation:                                                                    89.79

Grand Total                                                                               $974.13




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